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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF MAINE


UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
       v.                                   )    Criminal No. 1:03-CR-46-B-S
                                            )
JEFFREY ALAN SHIELDS,                       )
                                            )
                       Defendant.           )

                                      SATISFACTION OF JUDGMENT

       The monetary penalty(s) imposed in the above-captioned action entered on September 30, 2003

has/have been satisfied and paid in full.

       Dated:          January 6, 2005

                                                 Paula D. Silsby
                                                 United States Attorney


                                                 /s/ Evan J. Roth
                                                 Assistant U.S. Attorney
                                                 United States Attorney's Office
                                                 100 Middle Street, P.O. Box 9718
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          Case 1:03-cr-00046-JAW Document 11 Filed 01/06/05 Page 2 of 2 PageID 19




                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF MAINE


                                        CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2005, I electronically filed a Satisfaction of Judgment with the Clerk
of Court using the CM/ECF system which will send notification of such filing(s) to the following:


                      JOSEPH BALDACCI
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                                                             Paula D. Silsby
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                                                             /s/Evan J. Roth
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